    Qa ~.~eCase
           (~a l I5:21-cv-01260-JGB-SP
                  :c ✓                 Document 1 Filed 07/28/21 Page 1 of 4 Page ID #:1


    ,z~d~e►~~~~ (~ ~~3d 1
        (~ G-2"~ ~ -g°(~Z
                                UNITED STATES DISTRICT COURT
                                                                                        .~Il. 2 8 2021
                               CENTRAL DISTRICT OF CALIFORNIA

                                                                                                     n~~

            DANTE COLLIER                                      )JURY TRIAL DEMANDED
                     Plaintiff,                                )


            v.                                         ~~          Case No~

                                                                   ~~ ~ ~ ~ ~ 2 6 0 ~ .~ ~~3 Six
            SOLVERITY AKA DISCOVERY                            )
            FINANCIAL SERVICES.,                               )
                     Defendant.                                )
    S                                                          )

2



                            COMPLAINT AND DEMAND FOR JURY TRIAL



                                         I.     INTRODUCTION

           1.    This is an action for actual and statutory brought by Plaintiff Dante Collier an

                 individual consumer, against Defendant, Solverity AKA Discovery Financial

                 Services., ("Solverity") for violations of the Fair Debt Collection Practices Act, 15

                 U.S.0 § 1692 et .seq. (hereinafter "FDCPA"), which prohibits debt collectors from

                 engaging in abusive, deceptive, and unfair practices.

                                  II.     JURISDICTION AND VENUE
Case 5:21-cv-01260-JGB-SP Document 1 Filed 07/28/21 Page 2 of 4 Page ID #:2




2.   Jurisdiction of this court arises under 15 U.S.0 § 1692k(d) 28 U.S.0 1331. Venue

     in this District is proper in that the Defendants transact business in Los Angeles,

     Los Angeles County, California, and the conduct complained of occurred in Los

     Angeles, Los Angeles County, California.

                                  III.   PARTIES

3.   Plaintiff Dante Collier (hereinafter "Mr. Collier") is a natural person residing in

     Los Angeles, Los Angeles County, California. Mr. Collier is a consumer as defined

     by the Fair Debt Collection Practices Act, 15 U.S.C. § 1692a(3).

4.   Upon information and belief, Defendant Solverity AKA Discovery Financial

     Services., is an Washington corporation with its principal place of business located

     at 9707 NE 54th St Suite A,Vancouver, WA 98662.

5.   Defendant Solverity AKA Discovery Financial Services., is engaged in the

     collection of debt from consumers using the mail and telephone. Defendant

     regularly attempt to collect consumers' debts alleged to be due to another's.

                      IV.    FACTS OF THE COMPLAINT

6.   Defendant Solverity AKA Discovery Financial Services.(hereinafter referred to as

     "Debt Collector") is a "debt collector" as defined by the FDCPA, 15 U.S.0

      1692a(6).

7.   On or about May 19, 2021, Mr. Collier reviewed his credit report on "credit karma

     and Identity IQ."
 Case 5:21-cv-01260-JGB-SP Document 1 Filed 07/28/21 Page 3 of 4 Page ID #:3




8.     On the report, the Mr. Collier observed a trade line from Debt Collector.

9.     Debt Collector furnished a trade line of $664, allegedly owned to Les Schwab

       Warehouse Centers.

10.    Also on May 19, 2021, Plaintiff made a dispute via telephone, however on July 25,

       2021 Plaintiff re-checked his credit reports and Debt Collector has subsequent had

       communication with the consumer reporting agencies and has failed to

       communicate that the debt was disputed the Plaintiff disputed.

1 1.   Debt Collector's publishing of such inaccurate and incomplete information has

       severely damaged the personal, F1C0 Scores and credit reputation of Mr. Collier

       and caused severe humiliation, and emotional distress and mental anguish.

                      V.     FIRST CLAIM FOR RELIEF
             (Defendant Solverity AKA Discovery Financial Services.,)
                               15 U.S.C.§1692e(8)

1 2.   Mr. Collier re-alleges and reincorporates all previous paragraphs as if fully set out

       herein.

13.    The Debt Collector violated the FDCPA.

1 4.   The Debt Collector's violations include, but are not limited to, the following:

       The Debt Collector violated 15 U.S.0 § 1692e(8) of the FDCPA by failing to

       disclose to the consumer reporting agencies that alleged debt was in dispute by Mr.

       Collier.




                                             3
 Case 5:21-cv-01260-JGB-SP Document 1 Filed 07/28/21 Page 4 of 4 Page ID #:4




15.      As a result of the above violations of the FDCPA,the Defendants are liable to the

         Mr. Collier actual damages,statutory damages and cost.

                  VI.   .iURY DEMAND AND PRAYER FOR RELIEF

         WHEREFORE,Plaintiff Mr. Collier respectfully demands a jury trial and requests

that judgment be entered in favor of Plaintiff and against the Debt Collector for:


      A. Judgment for the violations occurred for violating the FDCPA;

      B. Actual damages pursuant to 15 U.S.0 1692k(1)(2);

      C. Statutory damages pursuant to 15 U.S.0 1692k(2);

      D. Cost and reasonable attorney's fees pursuant to 15 U.S.0 1692k(3);

      E. For such other and further relief as the Court may deem just and proper.



                                                    Respectfully submitted:




                                                    Dante Collier
                                                    15044 Strawberry Lane
                                                    Adelanto,CA 92301
                                                    760-221-8992
                                                    doncollierl @gmail.com




                                               C!
